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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


  BILLY R. RIGSBY, JR.,                       )
                                              )
                      Plaintiff,              )
                                              )
  vs.                                         )   Case No. 14-CV-1389-NJR-PMF
                                              )
  PLATT MARINE SERVICES, INC. and             )
  TONKIN & MONDL, L.C.,                       )
                                              )
                      Defendants.             )


                        JUDGMENT IN A CIVIL ACTION

 DECISION BY THE COURT.

        IT IS ORDERED AND ADJUDGED that pursuant to the Minute Entry Order

 dated February 2, 2015 (Doc. 24), Defendant Platt Marine Services, Inc. was

 DISMISSED with prejudice.

        IT IS ORDERED AND ADJUDGED that pursuant to the Order dated March 16,

 2015 (Doc. 28), Defendant Tonkin & Mondl, L.C. was voluntarily DISMISSED with

 prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

        DATED: March 16, 2015



                                                  JUSTINE FLANAGAN, Acting Clerk

                                                  By: s/ Deana Brinkley_____________
                                                    Deputy Clerk

 APPROVED: s/ Nancy J. Rosenstengel______
          NANCY J. ROSENSTENGEL
          United States District Judge
